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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 KAREN POWELL, as Trustee for DAWN N.                              :
 POWELL MARITAL TRUST and DAWN N.                                  :
 POWELL BYPASS TRUST,                                              :   ORDER REGULATING
                                                                   :   PROCEEDINGS
                                                                   :
                                                                   :   17 Civ. 4200 (AKH)
                                         Plaintiff,
                                                                   :
             -against-                                             :
                                                                   :
                                                                   :
                                                                   :
 LILLIAN N. NALL and THEA BADAL,
                                          Defendants.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On October 16, 2020, I held a telephonic status conference in the above-captioned

matter. As discussed at the conference, this matter shall proceed as follows:


                 1. On November 19, 2020, at 2:30 p.m. (Mountain Time Zone), the parties, or
                    their duly authorized delegates, shall appear for a closing to consummate this
                    settlement at a Wells Fargo Bank branch in Utah to be identified by Plaintiff.

                 2. Plaintiff shall notify the parties of the location of such bank branch via a letter
                    posted to ECF on or before October 23, 2020.

                 3. The November 19, 2020 closing shall be cancelled if the parties close and
                    consummate this settlement prior to that date.

                 4. Finally, the parties are directed to appear for a status conference on December
                    4, 2020. The Court will notify the parties at a later date whether such
                    conference will be held in-person or telephonically.


                 SO ORDERED.

Dated:           October 16, 2020                     _____/s/ Alvin K. Hellerstein________________
                 New York, New York                         ALVIN K. HELLERSTEIN
                                                            United States District Judge
